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Cv-02156-GPC-NLS Documenti1 Filed 09/24/15 PagelD.6 Page 6 of ;
NAME and ROARS FLETCHER, G. c-41111 FB-10-223L cBE 288 tev. 4/7

On Thursday, September 10, 2015, at app imately 1030 hours, while performing my duties
as Security Patrol # 3, I entered Facility Gym, for I was looking for an inmate. Upon
entering the Gym, I observed Inmate FLETCH G., C-41111, FB-10-223L, playing a vigorous
game of Full-Court Basketball with a group immate half his age. I personally observed
him play this game for nearly a full Twenty .20) minutes, it was approximately 1050 hours,
when they stopped the game for Noon Medication Line. This is not the first time I have seen
Fletcher play thus, for on numerous occasions I have personally seen Fletcher play Basketball.

However, due to an incident on 9/9/2015, I went and reviewed Fletchers D.E.C.S. file,
and it shows that Fletcher has the following Health Care Appliances due to his mobility .
impairment: * Braces; 1] Knee Brace, 2] Ankle Brace, 3] Foot Orthosis, 4] Wrist Brace, and
an Impaired Disability Vest, along with Orthopedic Shoes. As for Prescribed Medications,
Fletcher does not just receive one type of Morphine for his "Pain" he receives TWO (2)
different doses, 1] 15 Milligram Morphine, and 2] 30 Milligram Morphine, due to Inmate
Fletcher's "claims" of being in severe pain. This is very interesting to note for below is
a summary of the events that took place on Wednesday September 9, 2015:

On Wednesday, September 9, 2015, I was helping monitor the morning meal. Immediately
upon the completion of the morning meal I reported to the Bravo Gym to help monitor the
morning issuance of medications. Upon entering the Facility "B" Gym, I approached Inmate
Fletcher to tell him to exit the Gym for he had already received his medications. Inmate
Fletcher seemed nervous about me approaching him, so I escorted him to the inmate restroom
area of the Gym and performed an unclothed body search of Fletcher. As Fletcher removed
his left sock two (2) small bindles were exposed. I retrieved the two bindles. I completed
the unclothed body search. I asked Fletcher about the two bindles which were wrapped in
white paper, wrapped in tape. Inmate Fletcher stated, "I don't know what those are." I
opened the bindles which exposed two different types of medications. I tock the ici rtans
to the pharmacy where they were identified by a Licensed Pharmacist, Chu as one 15 mg mncrephln
pill and one 30 mg morphine pill. I maintained sole possession of the two pills. I placed
the pills in an evidence envelope and secured the envelope into the evidence locker #1,

located in Central Control,
Original : Central File “| —

 

cc Inmate Fletcher's Medical Records M. Lopez,
Chief Medical Officer at R.J.D.C.F. Correctior@l Officer
TTA Pharmacy B-Facility
Inmate R.J.D.C.F,
9/16/2015

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provided by local rules of court. This form, approved by the Judicial Co: erence of th nited States in September 1974, is required for the use of ag
purpose of initiating the civil docket sheet. (SHI: INSTRUCTIONS ON NEXT;

I. (a) PLAINTIFFS S DANTS
Gregory L. Fletcher 2 , etal,
C-41111 FER F
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(c) Attorneys (firm Name. Address, and 7 elephone Number)
Gregory L. Fletcher

 

 

 

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71) US. Government 3° Federal Question PTF DEF PTF DEF
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IV. NATURE OF SUIT (ace an"

     

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1 422 Appeal 28 USC 158 C1 375 False Claims Act
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